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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION


 THE CHAMBERLAIN GROUP, INC.,

               Plaintiff,

        v.

 TECHTRONIC INDUSTRIES CO. LTD.,                    Civil Action No. 1:16-cv-06097
 TECHTRONIC INDUSTRIES NORTH
 AMERICA, INC., ONE WORLD                          The Honorable Martha M. Pacold
 TECHNOLOGIES INC., OWT
 INDUSTRIES, INC., ET TECHNOLOGY
 (WUXI) CO. LTD., and RYOBI
 TECHNOLOGIES, INC.,

               Defendants.


                     MOTION FOR WITHDRAWAL OF COUNSEL

       Pursuant to Local Rule 83.17 of the Local Rules of the United States District

Court for the Northern District of Illinois, Plaintiff The Chamberlain Group, Inc. hereby

moves the Court for the withdrawal of Maria Elena Stiteler as counsel of record in this

action. No party will be prejudiced nor will any delay result from the withdrawal of the

appearance of Maria Elena Stiteler from this matter. Plaintiff will continue to be

represented by counsel of record from Winston & Strawn LLP and Fish & Richardson,

P.C.




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Dated: December 6, 2019
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                           CERTIFICATE OF SERVICE

      I certify that a copy of the foregoing document was served via CM/ECF on

December 6, 2019 upon all counsel of record.


                                           /s/ Benjamin Elacqua
                                           Benjamin Elacqua




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